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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

   WSOU INVESTMENTS, LLC d/b/a                     §
   BRAZOS LICENSING AND                            §
   DEVELOPMENT,                                    §       CIVIL ACTION NO. 6:20-cv-489
                                                   §
             Plaintiff,                            §          JURY TRIAL DEMANDED
                                                   §
   v.                                              §
                                                   §
   ZTE CORPORATION, ZTE (USA)                      §
   INC., AND ZTE (TX), INC.                        §
                                                   §
             Defendants.                           §

                               ORIGINAL COMPLAINT FOR PATENT
                                       INFRINGEMENT

        Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development (“Brazos”

or “Plaintiff”), by and through its attorneys, files this Complaint for Patent Infringement against

Defendants ZTE Corporation, ZTE (USA), Inc. and ZTE (TX), Inc. (collectively “ZTE” or

“Defendants”) and alleges:

                                       NATURE OF THE ACTION
        1.       This is a civil action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. §§ 1, et seq., including §§ 271, 281, 284, and 285.

                                              THE PARTIES
        2.       Brazos is a limited liability corporation organized and existing under the laws of

Delaware, with its principal place of business at 605 Austin Ave, Ste 6, Waco, TX 76701.

        3.       On information and belief, Defendant Zhongxing Telecommunications

Equipment (abbreviated as “ZTE”) Corporation is a Chinese corporation that does business in

Texas, directly or through intermediaries, with a principal place of business at ZTE Plaza, Keji

Road South, Hi-Tech Industrial Park, Nanshan District, Shenzhen China.



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       4.         On information and belief, Defendant ZTE (USA) Inc. is a New Jersey

corporation that does business in Texas, directly or through intermediaries, with a principal place

of business in business in Richardson, Texas.

       5.         On information and belief, Defendant ZTE (TX) Inc. is a Texas corporation that

does business in Texas, directly or through intermediaries, with a principal place of business in

business in Austin, Texas.

       6.         All of the Defendants operate under and identify with the trade name “ZTE.”

Each of the Defendants may be referred to individually as a “ZTE Defendant” and, collectively,

Defendants may be referred to below as “ZTE” or as the “ZTE Defendants.”

                                  JURISDICTION AND VENUE
       7.         This is an action for patent infringement which arises under the Patent Laws of

the United States, in particular, 35 U.S.C. §§271, 281, 284, and 285.

       8.         This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331 and 1338(a).

       9.         This Court has specific and general personal jurisdiction over each ZTE

Defendant pursuant to due process and/or the Texas Long Arm Statute, because each ZTE

Defendant has committed acts giving rise to this action within Texas and within this judicial

district. The Court’s exercise of jurisdiction over each ZTE Defendant would not offend

traditional notions of fair play and substantial justice because ZTE has established minimum

contacts with the forum. For example, on information and belief, ZTE Defendants have

committed acts of infringement in this judicial district, by among other things, selling and

offering for sale products that infringe the asserted patent, directly or through intermediaries, as

alleged herein.



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         10.      Venue in the Western District of Texas is proper pursuant to 28 U.S.C. §§1391

and/or 1400(b). The ZTE Defendants have committed acts of infringement and have places of

businesses in this District and/or are foreign entities for purpose of §1391. As non-limiting

examples, ZTE (TX) has maintained a place of business at 7000 N MO-PAC EXPRESSWAY

200 AUSTIN, TX 7873; and, ZTE (USA) has maintained a place of business at 6500 River Place

Blvd., Austin, TX 78730. ZTE Corporation also describes a “research-and-development center

in Austin, Texas.”1

                              COUNT ONE - INFRINGEMENT OF
                                 U.S. PATENT NO. 7,487,240

         11.      Brazos re-alleges and incorporates by reference the preceding paragraphs of this

Complaint.

         12.      On February 3, 2009, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 7,487,240 (“the ’240 Patent”), entitled “CENTRALIZED

INTERNET PROTOCOL/MULTI-PROTOCOL LABEL SWITCHING CONNECTIVITY

VERIFICATION IN A COMMUNICATIONS NETWORK MANAGEMENT CONTEXT.” A

true and correct copy of the ’240 Patent is attached as Exhibit A to this Complaint.

         13.      Brazos is the owner of all rights, title, and interest in and to the ’240 Patent,

including the right to assert all causes of action arising under the ’240 Patent and the right to any

remedies for the infringement of the ’240 Patent.

         14.      ZTE makes, uses, sells, offers for sale, imports, and/or distributes, in the United

States, network management systems (collectively, the “Accused Products”).




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    https://res-www.zte.com.cn/mediares/magazine/publication/tech en/pdf/201009.pdf
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by, among other things, advertising and promoting the use of the Accused Products in various

websites, including providing and disseminating product descriptions, operating manuals, and

other instructions on how to implement and configure the Accused Products. Examples of such

advertising, promoting, and/or instructing include the documents at:

       •   https://www.scribd.com/document/380600612/03-NetNumen-U31-Introduction-
           40P
       •   https://digitalequity4all.cisd.net/project-info.html
       •   http://www.townofcaroline.org/uploads/6/2/7/8/62781479/m_a_technology_-
            broadband proposal.pdf,
       •   https://www.zte.com.cn/global/about/magazine/zte-
           technologies/2009/11/en 441/178926
       •   https://www.zte.com.cn/global/products/wireless/201903111102/Network-
           Management-Solution
       •   https://www.scribd.com/document/376180121/06-MW-AC3102-E01-0-
           NetNumen-U31-Performance-Management-155P
       •   https://www.scribd.com/document/399872799/NetNumen-U31-R22-V12-16-10-
           Unified-Network-Management-System-Product-Description-V1-0
       •   https://www.scribd.com/presentation/379887074/165853166-06-NetNumen-U31-
           System-Description-ppt
       •   https://www.scribd.com/document/331167170/NetNumen-U31-Fault-
           Management-Operation-Guide
       •   https://www.scribd.com/document/296996672/SJ-20110907140552-026-
           NetNumen-U31-R52-V12-11-30-System-Topology-Management-Operation-
           Guide
       •   https://www.youtube.com/watch?v=YXA4mn2lUCQ
       •   https://www.zte.com.cn/global/about/magazine/zte-
           technologies/2011/4/en_546/244383
       •   http://enterprise.zte.com.cn/en/products/network lnfrastructure/switches/CampusS
           witches/201708/t20170802_464935.html
       •   https://www.zte.com.cn/global/products/bearer/data communication/ethernet swit
           ch/5900E-EN
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       •     https://vdocuments.site/download/sj-20141121113158-004-netnumen-u31-r06-
             v121430-unified-element-management


       44.      Since at least the date of service of this Complaint, through its actions, ZTE has

contributed to the infringement of the ’240 Patent by having others sell, offer for sale, or use the

Accused Products throughout the United States, including within this judicial district, with

knowledge that the Accused Products infringe the ’240 Patent. The Accused Products are

especially made or adapted for infringing the ’240 Patent and have no substantial non-infringing

use. For example, in view of the preceding paragraphs, the Accused Products contain

functionality which is material to at least one claim of the ’240 Patent.

                                            JURY DEMAND
       Brazos hereby demands a jury on all issues so triable.


                                   REQUEST FOR RELIEF

       WHEREFORE, Brazos respectfully requests that the Court:

       (A) Enter judgment that ZTE infringes one or more claims of the ’240 Patent literally

and/or under the doctrine of equivalents;

       (B) Enter judgment that ZTE has induced infringement and continues to induce

infringement of one or more claims of the ’240 Patent;

       (C) Enter judgment that ZTE has contributed to and continues to contribute to the

infringement of one or more claims of the ’240 Patent;

       (D) Award Brazos damages, to be paid by ZTE in an amount adequate to compensate

Brazos for such damages, together with pre-judgment and post-judgment interest for the

infringement by ZTE of the ’240 Patent through the date such judgment is entered in accordance




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with 35 U.S.C. §284, and increase such award by up to three times the amount found or assessed

in accordance with 35 U.S.C. §284;

       (E) Declare this case exceptional pursuant to 35 U.S.C. §285; and

       (F) Award Brazos its costs, disbursements, attorneys’ fees, and such further and

additional relief as is deemed appropriate by this Court.




Dated: June 3, 2020                            Respectfully submitted,

                                              /s/ James L. Etheridge

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                                              COUNSEL FOR PLAINTIFF




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